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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA



 HAVANA DOCKS CORPORATION,
                                                                 Case No.:
                  Plaintiff,

 vs.

 NORWEGIAN CRUISE LINE
 HOLDINGS, LTD.,

             Defendant.
 ____________________________________/

                                                      COMPLAINT

       Plaintiff Havana Docks Corporation (“Plaintiff”) hereby sues Norwegian

 Cruise Line Holdings, Ltd. (“Defendant” or “Norwegian”), pursuant to the Cuban

 Liberty and Democratic Solidarity Act (“LIBERTAD Act”), for trafficking in Plaintiff’s

 confiscated property located in Cuba.

                                                      INTRODUCTION

       1.         The LIBERTAD Act was enacted to assist the Cuban people in regaining

 their freedom and prosperity, strengthen international sanctions against the

 communist Cuban Government, and to deter the exploitation of wrongfully

 confiscated property in Cuba belonging to United States nationals. Although every

 U.S. President has suspended the right to bring an action under the LIBERTAD Act

 since its enactment in 1996, the Defendant has been on notice since 1996 that

 trafficking in property confiscated by the communist Cuban Government would

 subject it to liability under the LIBERTAD Act.                                      As of the date of filing this


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 Complaint, the United States Government has ceased suspending the right to

 bring an action under the LIBERTAD Act, which therefore permits Plaintiff to seek

 damages for the Defendant’s conduct in exploiting Plaintiff’s wrongly confiscated

 property.

                                                            PARTIES

        2.         Plaintiff, Havana Docks Corporation, 215 Southland Drive, Lexington,

 Kentucky, 40503, is a Delaware corporation and a U.S. National under 22 U.S.C. §

 6023(15)(B).

        3.         Defendant is a foreign corporation maintaining its principal executive

 offices and place of business at 7655 Corporate Center Drive, Miami, Florida 33126.

 Defendant operates the Norwegian Cruise Line, Oceania Cruises, and Regent Seven

 Seas Cruise brands.

                                              JURISDICTION AND VENUE

        4.         This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

 (federal question jurisdiction), because Plaintiff’s claim arises under 22 U.S.C. § 6021,

 et seq., and the amount in controversy exceeds the sum or value of $50,000, exclusive

 of interest, costs, and attorneys’ fees.

        5.         Venue is proper in this judicial District under 28 U.S.C. § 1391(b)(1),

 because the Defendant resides in this judicial District, and under 28 U.S.C. §§

 1391(b)(2) and 1391(d), because a substantial part of the events or omissions giving

 rise to Plaintiff’s claims occurred in this judicial District.



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                   THE CUBAN LIBERTY AND DEMOCRATIC SOLIDARITY ACT

       6.         The LIBERTAD Act became effective March 12, 1996.                                                  One of the

 LIBERTAD Act’s purposes is to “protect United States nationals against confiscatory

 takings and the wrongful trafficking in property confiscated by the Castro Regime.”

 22 U.S.C. § 6022(6). Title III of the LIBERTAD Act (“Title III”) establishes a private

 right of action for money damages against any person who “traffics” in such property

 as defined by 22 U.S.C. § 6023(13). See 22 U.S.C. § 6082.

                                               FACTUAL ALLEGATIONS

       7.         Plaintiff, a U.S. national as defined by 22 U.S.C. § 6023(15), is the

 rightful owner of an interest in and claim to certain commercial waterfront real

 property in the Port of Havana, Cuba identified specifically by the Republic of Cuba

 (“Cuba”) as the Havana Cruise Port Terminal (the “Subject Property”).

       8.         The Subject Property was continuously, owned, possessed and used in

 Cuba by Plaintiff from 1917 until the communist Cuban Government confiscated it

 in 1960.

                               Cuba’s Confiscation of the Subject Property

       9.         The communist Cuban Government confiscated the Subject Property on

 October 24, 1960. The communist Cuban Government maintains possession of the

 Subject Property and has not paid any compensation to Plaintiff for its seizure.

       10.        More specifically, the communist Cuban Government nationalized,

 expropriated, and seized ownership and control of the Subject Property. The Subject

 Property has not been returned and adequate and effective compensation has not

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 been provided. Further, the claim to the Subject Property has not been settled

 pursuant to an international claims settlement agreement or other settlement

 procedure.

       11.     Plaintiff never abandoned its legitimate interest in and claim to the

 Subject Property.

                        Certification of the Confiscated Subject Property

       12.     Plaintiff’s ownership interest in and claim to the Subject Property has

 been certified by the Foreign Claims Settlement Commission under the International

 Claim Settlement Act of 1949.

              Norwegian’s Trafficking in the Confiscated Subject Property

       13.     On information and belief, beginning on or about March 2017 and

 continuing for at least two years thereafter, the Defendant knowingly and

 intentionally commenced, conducted, and promoted its commercial cruise line

 business to Cuba using the Subject Property by regularly embarking and

 disembarking its passengers on the Subject Property without the authorization of

 Plaintiff or any U.S. national who holds a claim to the Subject Property.

       14.     On information and belief, beginning on or about March 2017 and

 continuing for at least two years thereafter, the Defendant also knowingly and

 intentionally participated in and profited from the communist Cuban Government’s

 possession of the Subject Property without the authorization of Plaintiff or any U.S.

 national who holds a claim to the Subject Property.



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       15.      The Defendant’s knowing and intentional conduct with regard to the

 confiscated Subject Property is trafficking as defined in 22 U.S.C. § 6023(13)(A).

       16.      As a result of the Defendant’s trafficking in the Subject Property, the

 Defendant is liable to Plaintiff for all money damages allowable under 22 U.S.C.

 § 6082(a), which amount is no less than three (3) times $167,744,818 for a total of

 $503,234,453.

                                               CLAIM FOR DAMAGES

                                    TITLE III OF THE LIBERTAD ACT

       17.      Plaintiff incorporates by reference paragraphs 1 through 16 as if fully

 stated herein.

       18.      This claim is brought pursuant to Title III of the LIBERTAD Act, 22

 U.S.C. § 6082.

       19.      As set forth in Title III and alleged above, beginning on or around March

 2017 and continuing for at least two years thereafter, the Defendant did traffic, as

 that term is defined in 22 U.S.C. § 6023(13)(A), in the Subject Property which was

 confiscated by the communist Cuban Government on or after January 1, 1959 and is

 therefore liable to Plaintiff, who owns the claim to the Subject Property for money

 damages.

       20.      Plaintiff is entitled to all money damages allowable under 22 U.S.C.

 § 6082(a), including, but not limited to, those equal to the sum of:

                a.       The amount greater of: (i) the amount certified by the Foreign

 Claims Settlement Commission, plus interest; (ii) the amount determined by a special

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 master pursuant to 22 U.S.C. § 6083(a)(2); or (iii) the “fair market value” of the

 Subject Property, plus interest;

                b.      Three times the amount determined above (treble damages); and

                c.      Court costs and reasonable attorneys’ fees.

       21.      As of the date of filing this Complaint, the United States Government

 has ceased suspending the right to bring an action under Title III, 22 U.S.C. § 6085,

 which therefore permits Plaintiff to seek the relief requested herein.

                                              REQUEST FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against the Defendant as follows:

                A. Ordering the Defendant to pay damages (including treble damages);

                B. Ordering the Defendant to pay pre- and post-judgment interest on

                      any amounts awarded;

                C. Order the Defendant to pay attorneys’ fees, costs, and expenses; and

                D. Ordering such other relief as may be just and proper.

                                           DEMAND FOR JURY TRIAL

       Plaintiff demands a jury trial on all issues so triable, and a trial pursuant to

 Rule 39(c), Federal Rules of Civil Procedure, as to all matters not triable as of right

 by a jury.

       Dated: August 27, 2019.




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                                                          Respectfully submitted,

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